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   EXHIBIT G
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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


AFL-CIO, et al.,

Plaintiffs,

v.                                                    Civil Action No. 25-339 (JDB)

DEPARTMENT OF LABOR, et al,

Defendants.




                           DECLARATION OF COURTNEY KING


I, Courtney E. King declare as follows:


     1. I am over 18 years of age and competent to give this declaration. This declaration is

        based on my personal knowledge, information, and belief.


     2. I am a member of the American Federation of Government Employees (“AFGE”) and

        reside in the State of Tennessee.


     3. I am a federal employee that works at the Federal Bureau of Prisons.


     4. I suffered a workplace injury while employed by the federal government.


     5. AFGE assisted me with my workers compensation claim filed under the Federal

        Employees Compensation Act (“FECA”).


     6. Filing my FECA claim required filling out and filing a CA-1 form with the Department

        of Labor.




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  7. My CA-1 form included my name, social security number, date of birth, home address,

      medical information, information about my injury, and other personal information. I was

      required to provide additional medical information, including medical records, after filing

      my initial claim.


  8. By filing the CA-1 I also understood that I authorized the Department of Labor’s

      Workers' Compensation Program to obtain additional personal information from my

      medical providers.


  9. I understood and expected that the information I provided on my CA-1, and any other

      information the Department of Labor obtained to review my claim, was confidential.


  10. I am concerned about unauthorized individuals, including those associated with DOGE,

      accessing my sensitive private information.




I declare under penalty of perjury that the foregoing is true and correct.



Executed on February 9, 2025, in Memphis, TN.



                                              __________________________

                                              Courtney King




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